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 5   Attorney for Defendant
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 6

 7

 8                                  UNITED STATES DISTRICT COURT

 9                                      DISTRICT OF NEVADA

10

11   CORTNEY FAST,                                    Case No. 2:20-cv-00107-RFB-DJA

12                     Plaintiff,                     STIPULATION OF DISMISSAL OF
                                                      LEXISNEXIS RISK SOLUTIONS INC.,
13   v.                                               WITH PREJUDICE

14   LEXISNEXIS RISK SOLUTIONS INC.,
     TARGET CORPORATION,
15
                       Defendants.
16

17
            PLEASE TAKE NOTICE that pursuant to Federal Rule of Civil Procedure
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19   41(a)(1)(A)(ii), the parties have stipulated to the dismissal of Defendant LexisNexis Risk

20   Solutions Inc., from the above captioned action, with prejudice.

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     Case 2:20-cv-00107-RFB-DJA Document 38 Filed 07/29/20 Page 2 of 2



 1   Each party will bear their own costs.
 2          IT IS SO STIPULATED.
 3
            Dated July 28, 2020.
 4
      KNEPPER & CLARK LLC                                  KRAVITZ, SCHNITZER & JOHNSON, CHTD.
 5
      /s/ Matthew I. Knepper                               /s/ Gary E. Schnitzer
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      Attorney for Defendant
18    Target Corporation
19
                       ORDER GRANTING STIPULATION OF DISMISSAL
20                 OF LEXISNEXIS RISK SOLUTIONS INC., WITH PREJUDICE

21   IT IS SO ORDERED.

22                                                _________________________________________
                                             ________________________________
                                                  UNITED STATES DISTRICT COURT JUDGE
23                                           RICHARD F. BOULWARE, II
                                             UNITED STATES
                                                        DATEDDISTRICT
                                                               this ____ dayJUDGE
                                                                             of _________ 2020
24
                                             DATED this 29th day of July, 2020.
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